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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA ,                         )
                                                   )
                       Plaintiff,                  )
                                                   )                    4:09cr3079
       vs.                                         )
                                                   )
ANDREW LAMAR CAMPBELL,                             )                      ORDER
                                                   )
                       Defendant.                  )
                                                   )

       Before the Court is the request for transcript of hearings held on 10/21/09, 11/4/09, and
1/26/10 [125].

       IT IS ORDERED:

       1.      The request for transcript, filing [125] is granted.

       2.      Andrew Campbell, is ordered to pay to the Clerk of Court the amount of $200.75.
               Should the cost of the transcripts exceed this amount, the requestor will be required
               to pay the difference. Likewise, should the cost of the transcript be less than
               $200.75, a refund check will be issued.

       3.      Upon receipt of this fee, the Court Reporter is ordered to prepare a transcript of the
               hearings held on 10/21/09, 11/04/09, and 1/26/10. A paper copy of the transcripts
               shall be mailed to the requestor.

       Dated: January 14, 2013.

                                               BY THE COURT:


                                               s /Richard G. K opf
                                               Senior United States District Judge
